Case 1:22-cv-00479-KD-MU Document 70 Filed 05/01/24 Page 1 of 1                   PageID #: 1027




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 DONAL R. EDWARDS,                             )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )       CIV. ACTION: 1:22-00479-KD-MU
                                               )
 SHERIFF HEATH JACKSON, et al.,                )
                                               )
        Defendant.                             )

                                            ORDER

        After due and proper consideration of the issues raised, and having considered Plaintiff’s

 objection filed April 8, 2024, the Report and Recommendation of the Magistrate Judge, (Doc. 68),

 made under 28 U.S.C. § 636(b)(1)(B) and S.D. Ala. GenLR 72(a)(2)(R), and dated March 21,

 2024, is ADOPTED as the opinion of this Court.

        Accordingly, it is ORDERED that Defendants’ Motion for Summary Judgment, (Doc. 65),

 is GRANTED and that Plaintiff’s action is DISMISSED with prejudice.

        DONE and ORDERED this the 1st day of May 2024.

                                                     /s/ Kristi K. DuBose
                                                     KRISTI K. DuBOSE
                                                     UNITED STATES DISTRICT JUDGE
